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In re:

JESUS ESTRELLA,

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Debtor.

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ROBIN TUBESING #26680-49 [Indiana]

 

2010-17611

Case 10-17611 Filed 03/09/11 Doc 42 FILED

March 09, 2011

CLERK, U.S. BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA

0003329443

 

 

 

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA
FRESNO DIVISION

Case No. 10-1761 l-A-13
Cha ter 13
DC o. UST-2

Date: February 24, 2011

Tirne: 9:00 a.rn.

Place: U.S. Bankruptcy Court
1300 lSTH Street, Suite A
Bal<ersfield, California
Judge: Whitney Rimel

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fact and conclusions of law.

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FINDINGS OF FACT AND CONCLUSIONS OF LAW REGARDING
UNITED STATES TRUSTEE’S MOTION FOR AN ORDER IMPOSING A FINE
AND DISGORGEMENT PURSUANT TO ll U.S.C. § 110(1) OR, IN THE
ALTERNATIVE, FOR REVIEW OF FEES PURSUANT TO 11 U.S.C. § 329.
On February 24, 2011, the Court considered the Unitcd States Trustee's Motion for An
Order Imposing a Fine and Disgorgement Pursuant to 11 U.S.C. § 110(1) Or, in the
Alternative, for Review of Fees Pursuant to 1 1 U.S.C. § 329. l\/Iark L. Pope, Esq. appeared

for the United States Trustee. Having reviewed the pleadings and considered the arguments of

the parties and the testimony of Jesus Estrella, the Court now issues the following findings of

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Findings of Fact
1. On July 7, 2010, Jesus Estrella (“the Debtor”) filed a skeletal, Voluntary petition

under chapter 13.

2. There was no disclosure of attorney or petition preparer compensation filed in the
case as required by 1 1 U.S.C. 1 10(h)(2)(A).

3. On July 19, 2010, the Court granted the United States Trustee’s Ex Parte
Application For Retaining Jurisdiction over any action under 11 U.S.C. §§ 110, 329, and 526,
in the event the case was dismissed

4. On July 26, 2010, the Court ordered the case dismissed for failure to file documents
and on September 7, 2010 the case was closed.

5. On November 23, 2010, the Court granted the United States Trustee’s Motion to
Reopen Case.

6. In 2009, the Debtor, who speaks only Spanish, asked R.E.S.P.A Advisors (“thc
Preparer”) for assistance in obtaining a loan modification He paid it $1,500 by check dated
l\/Iay 1, 2009.

7. On May 4, 2009, the Debtor’s May l, 2009 check was returned for insufficient
funds.

8. On or about 1\/[ay 7, 2009, in partial re-payment of the returned check, the Debtor
paid the Preparer $1,000 in cash.

9. On July 6, 2009 the Preparer prepared the Debtor’s bankruptcy petition in this case
which contained the following information;

- The Debtor’s name

- the last four digits of the Debtor’s social security number

- the Debtor’s address

- a check indicating an Individual debtor

- a check indicating a chapter 13 case

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- a check indicating the Debtor’s debts are primarily consumer debts

- a check indicating the full filing fee is attached

- a check indicating l-49 estimated creditors

- a check indicating $500,001 to $l million in estimated assets

- a check indicating $500,001 to $l million in estimated liabilities 5.

10. Also on July 6, 2009, the Preparer transmitted a facsimile copy of the petition to
the Debtor and instructed him to file the petition with the bankruptcy court in Fresno to stop
the foreclosure on his house.

1 1. On September 15, 2009, the Debtor paid the Preparer $1,500 by check.

12. On October 28, 2009, the Debtor paid the Preparer $l,000 by check.

13. On November 18, 2009, the Debtor paid the Preparer $l ,00 by depositing that
amount into the Preparer’s bank account.

Conclusions of Law

14. The United States Trustee is statutorily obligated to monitor the administration of
cases commenced under chapter 7, 1 1, 12 and 13 of the Bankruptcy Code. 28 U.S.C. §
586(a)(3). The United States Trustee has standing to raise, and to appear and be heard on, any
issue in any bankruptcy case or proceeding 11 U.S.C. § 307. The United States Trustee may
file a motion for an order imposing a fine on a bankruptcy petition preparer for any violation of
section 110 ofthe Bankruptcy Code. ll U.S.C. § 110(1)(3).

15. The Preparer is a bankruptcy petition preparer. Section 110 of the Bankruptcy
Code provides in relevant part:

(l) “bankruptcy petition preparer” means a person, other than an attorney for the debtor

or an employee of such attomey, under the direct supervision of such attorney, who
prepares for compensation a document for filing; and

(2) “document for filing” means a petition or any other document prepared for filing by

a debtor in a United States bankruptcy court or a United States District court in
connection with a case under this title.

ii U.s.C. § 1 io(a)(i) and (2).

16. The Preparer is not an attorney and there is no indication it prepared the Debtor’s

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petition in this case under the direct supervision of an attorney The Preparer prepared the
petition for a fee for filing with the Court in this case. lt was paid $4,500 for its petition
preparer services.

17. The Preparer will be fined. Section 110 of the Bankruptcy Code provides in

relevant part:

(l)(l) A bankruptcy petition preparer who fails to comply with any provision of

subsection(b),(c),(d),(e),(f),(g) or (h) may be fined not more than $500 for each such

failure.
11 U.S.C. § 110(1)(1).
The Preparer failed to comply with subsections (b), (c), (e), and (h) of Section 110, as
described below, and will be fined for each such failure.

18. Section 110 of the Bankruptcy Code provides in relevant part:

(b)(l) A bankruptcy petition preparer who prepares a document for filing shall sign the
document and print on the document the preparer’s name and address. lf a
bankruptcy petition preparer is not an individual, then an officer, principal,

responsible person, or partner of the bankruptcy petition preparer shall be
required to -
(A) sign the document for filing; and
(B) print on the document the name and address of that officer, principal,
responsible person, or partner.
11 U.S.C. § llO(b)(l)(A)-(B).
The Preparer did not sign or print the name of its officer, principal, responsible person or
partner on the petition it prepared for filing with the court. The petition has a signature block
which calls for a Non-attorney Petition Preparer to print their name and address, place their
Social Security number and sign as required by ll U.S.C. § 110. The pre-printed signature
block on the petition includes bold print language that specifically references ll U.S.C. § 110.
19. Therefore, the Preparer’s failure to complete the signature blocks as a Non-
attorney Petition Preparer in this case can only be seen as wilful. The Preparer will be fined
$500 for failing to sign and print its name and address on the petition.
20. Section 110 of the Bankruptcy Code provides in relevant part:
(c)(l) A bankruptcy petition preparer who_ prepares a document for filing shall place on

the document, after the preparer’s signature, an identifying number that identifies
the individuals who prepared the document.

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(c)(2)(A) . . . [F]or purposes of this section, the identifying number of a bankruptcy
petition preparer shall be the Social Security number of each individual who
prepared the document or assisted in its preparation

(c)(2)(B) If a bankruptcy petition preparer is not an individual, the identity number of

the bankruptcy petition preparer shall be the Social Security account number
of the bank officer, principal, responsible person, or partner of the bankruptcy
petition preparer.

11 U.S.C. §§ 110(c)(1) and (2)(A)-(B).

The Preparer failed to place the Social Security number of its officer, principal, responsible
person or partner on the petition. lt will be fined 3500 for failing to do so.
21. Section 1 10 of the Bankruptcy Code provides in relevant part:

(b)(2)(A) Before preparing any document for filing or accepting any fees from a debtor,
a bankruptcy petition preparer shall provide the debtor a written notice which
shall be written on an official form prescribed by the Judicial Conference of
the United States . . .

(B) The notice under subparagraph (A) -
(i) shall inform the debtor in simple language that a bankruptcy petition
preparer is not an attorney and may not practice law or give legal advice;
(ii) may contain a description of examples of legal advice that a bankruptcy
petition preparer is not authorized to give . . .; and

(iii) shall-
(l) be signed by the debtor and, under penalty of perjury, by the bankruptcy
petition preparer; and
(11) be filed with any document for filing

llU.S.C. §§ llO(c)(2)(A) and (B).

The Judicial Conference of the United States has prescribed an Official Form to allow a
bankruptcy petition preparer to provide the referenced notice i.e., Official Form 19 -
Declaration and Signature of Non-Attorney Petition Preparer. The Preparer did not provide
the Debtor with such a notice and it was not filed with the court. The Preparer will be fined
$500 for such failure.
22. Section 1 10 of the Bankruptcy Code provides in relevant part:
(e)(2)(A) A bankruptcy petition preparer may not offer a potential bankruptcy debtor
any legal advice, including any legal advice describe in subparagraph (B).
(B) The legal advice referred to in subparagraph (A) includes advising the debtor
. . .(vii) concerning bankruptcy procedure and rights.
11 U.S.C. § 110(e)(2)(A).

The Preparer gave the Debtor legal advice on bankruptcy rights and procedures including how

to file a chapter 13 petition to stop the foreclosure on his house. The Preparer will be fined

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$500 for providing legal advice to the Debtor.
23. Section 110 of the Bankruptcy Code provides in relevant part:

(h)(2)(A) A declaration under penalty of perjury by the bankruptcy petition preparer
shall be filed together with the petition, disclosing any fee received from or
on behalf of the debtor within 12 months immediately prior to the filing of
the case . . . .

11 U.S.C. § llO(h)(2)(A).

The Preparer failed to file a declaration disclosing any of the $4,500 fee it received from
Debtor for preparing the bankruptcy documents lt will be fined $500.
24. Section 110 of the Bankruptcy Code provides in relevant part:

(h)(3)(A) The Court shall disallow and order the immediate turnover to the bankruptcy
trustee any fee referred to in paragraph 2 found to be in excess of the value of
the services -

(i) rendered by the bankruptcy petition preparer during the 12-month
period immediately preceding the filing of the petition . . .
(h)(3)(B) All fees charged by a bankruptcy petition preparer may be forfeited in any
case in which the bankruptcy petition preparer fails to comply with this
subsection or subsections (b), (c), (d), (e), (f), or (g).
11 U.S.C. §§ llO(h)(2)(A).

The Preparer failed to comply with subsections (b), (c), (e), and (h). Therefore, its $4,500 fee
shall be ordered forfeited and returned to the Debtor. ln the alternative, the fee of $4,500
which the Preparer received exceeds this Court’s Guidelines to Petition Preparers in Eastem
District of California Cases (“Guidelines”) which provide in pertinent part:
The fee paid by the debtor to a bankruptcy petition preparer for typing and filing a
bankruptcy petition may not exceed $125.00 including expenses (such as photocopies,
postage, telephone charges and courier services).
Guidelines, para. 2.
The entire fee of $4,500 will be ordered disgorged to the Debtor.
25. Section 110 of the Bankruptcy Code provides in relevant part:
(l)(2) The court shall triple the amount of a fine assessed under paragraph (1) in any
case in which the court finds that a bankruptcy petition preparer . . . .
(D) prepared a document for filing in a manner that failed to disclose the identity

of the petition preparer.
11 U.S.C. § 110(1)(2)(D).

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The Preparer prepared the Debtors’ petition in a manner that failed to disclose the Preparer’s
identity. lt will be fined in the total amount of $2,500, as set forth above, and that amount,
shall be tripled to $7,500. The fine shall be paid to the United States Trustee. 1 1 U.S.C. §
l 10(1)(4)(A).
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For the foregoing reasons, the Court concludes the following relief should be granted:

1. The Preparer will be ordered to disgorge its fee of $4,500 to Jesus Estrella and
provide proof thereof to the United States Trustee within 30 days from the date of this Order;

and;

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2. The Preparer will be fined in the amount of $7,500 payable to the United States

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Trustee within 30 days from the date of this Order

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A separate order shall be entered.

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Dated:

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